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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

HOLLOW SPIRITS, LLC,

                 Plaintiff,

        vs.                                                           Civ. No. 18-257 MV/JFR

CORSON DISTILLING SYSTEMS, INC.,
TORY CORSON, and JOHN CORSON,

                 Defendants.


        PROPOSED FINDINGS OF FACT AND RECOMMENDED DISPOSITION

        THIS MATTER is before the Court on Plaintiff’s Motion for Default Judgment, filed

May 21, 2019. Doc. 42. Judge Vazquez issued an Order of Reference to the undersigned on

June 10, 2019. Doc. 43.

                                        I. Procedural Background

        On February 12, 2018, Plaintiff filed a Complaint for Damages against Defendant Corson

Distilling Systems, Inc., in State of New Mexico, County of Bernalillo, Second Judicial District

Court. Doc. 1-1. Therein, Plaintiff alleged breach of contract, breach of the duty of good faith

and fair dealing, negligent misrepresentation, fraud, violations of the Unfair Trade Practices Act,

conversion, and unjust enrichment, all flowing from a Purchase Agreement entered into by the

parties on April 21, 2017, and as amended on June 20, 2017.1 Id., Doc. 6 at 1-2. On March 16,

2018, Defendant Corson Distilling Systems, Inc., filed a Notice of Removal and removed the

case to this Court on the basis of diversity jurisdiction. Doc. 1. On April 2, 2018, Defendant

Corson Distilling Systems, Inc., filed a Motion to Dismiss or, in the Alternative, to Stay and



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 “Under the Purchase Agreement, Hollow Spirits contracted for the purchase, delivery and installation of distilling
equipment for use in Hollow Spirits’ distillery.” Doc. 6 at 2.
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Compel Arbitration. Doc. 6. On August 27, 2018, after the Motion to Dismiss was fully briefed,

Magistrate Judge Kirtan Khalsa ordered supplemental briefing.2 Doc. 15. On October 23, 2018,

after supplemental briefing was completed, but before a ruling on Defendant’s Motion to

Dismiss, Attorney Tom Petersen, counsel for Defendant Corson Distilling System, Inc., moved

to withdraw. Doc. 21. Judge Khalsa initially denied the motion. Doc. 22. On December 17,

2018, Attorney Petersen renewed his motion to withdraw. Doc. 23. On January 11, 2019, Judge

Khalsa granted the motion. Doc. 30. In her Order, Judge Khalsa explained that

           [b]ecause a corporation is not permitted to appear pro se, Defendant must retain
           new counsel and cause its counsel to enter an appearance on its behalf no later
           than fourteen days from the entry of this Order. Defendant’s failure to do so may
           result in default judgment or the imposition of other sanctions pursuant to
           D.N.M.LR-Civ. Rule 83.8(c).

Id. at 3. The Order provided that Defendant Corson Distilling Systems, Inc., would have until

January 25, 2019, to cause new counsel to enter an appearance on its behalf. Id.

           In the meantime, on December 21, 2018, and January 2, 2019, Plaintiff sought leave of

the Court to amend its Complaint and add Tory Corson and Josh Corson, the owners and

operators of Corson Distilling Systems, Inc., as Defendants. Docs. 24 and 26. On February 6,

2019, Judge Khalsa granted Plaintiff leave, and Plaintiff filed an Amended Complaint on the

same date. Docs. 33, 34.

           On February 6, 2019, this case was reassigned to District Judge Martha Vazquez as the

trial judge. Doc. 35. On February 13, 2019, Judge Vazquez entered an order denying

Defendant’s Motion to Dismiss. Doc. 37.




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    Judge Khalsa was presiding by consent of the parties. Docs. 5, 8, 9.


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       On March 22, 2019, summonses were issued to Tory Corson and Josh Corson. They

were returned executed on April 23, 2019. Docs. 39 and 40. The returned summonses indicated

that their answers were due May 6, 2019. Id.

       On May 1, 2019, this case was reassigned to Magistrate Judge John F. Robbenhaar as the

pretrial judge. Doc. 41.

       On May 21, 2019, Plaintiff filed a Motion for Default Judgment as to Defendants.

Doc. 42. In support, Plaintiff states that Defendant Corson Distilling Systems, Inc., has not had

new counsel enter appearance on its behalf pursuant to Judge Khalsa’s January 22, 2019, Order.

Id. at 2. Plaintiff further states that neither Tory Corson nor Josh Corson have filed any

responsive pleading with the Court and have not had counsel enter appearance on their behalf.

Id. at 2-3. Plaintiff, therefore, moves this Court for entry of default judgment against all

Defendants. Id. at 3.

       For the reasons discussed below, the Court finds that Plaintiff has not satisfied the

requirements for obtaining default judgment, and accordingly recommends that the motion be

denied without prejudice.

                                            II. Analysis

       “There are two stages in a default proceeding: the establishment of the default, and the

actual entry of a default judgment.” In Re Catt, 368 F.3d 789, 793 (7th Cir. 2004); see also

Garrett v. Seymour, 217 F. App’x 835, 838 (10th Cir. 2007) (unpublished) (rejecting the notion

that a plaintiff was entitled to default judgment, on the grounds that “the clerk had not entered

default under Rule 55(a), a prerequisite for the entry of a default judgment under Rule 55(b)(1)”

(emphasis added)); Williams v. Smithson, 57 F.3d 1081 (10th Cir. 1995) (unpublished table

decision) (“Rule 55 mandates a two-step process for a party who seeks a default judgment in his



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favor.”). First, the party wishing to obtain a default judgment must apprise the court that the

opposing party has failed to plead or otherwise defend by requesting “by affidavit or otherwise”

that the clerk enter default on the docket. Williams, 57 F.3d at *1 (quoting Fed. R. Civ. P. 55(a)).

Once that has occurred, the clerk of the court will enter a default against the party that has failed

to plead or otherwise defend. Id. After the default is established, and thus liability, the party

wishing to obtain a default judgment may then apply for a judgment based on the default and

must establish entitlement to the relief sought. See In re Catt, 368 F.3d at 793; New York Life

Ins. Co. v. Brown, 84 F.3d 137, 141 (5th Cir. 1995); Pinaud v. County of Suffolk, 52 F.3d 1139,

1152 n. 11 (2nd Cir. 1995).

       Under Fed. R. Civ. P. 55(b)(1), default judgment can be entered for a “sum certain” or a

“sum that can be made certain by computation” where a defendant has been found in default for

failure to appear. See KPS & Assocs., Inc. v. Designs By FMC, Inc., 318 F.3d 1, 20 (1st Cir.

2003). To be a “sum certain” there must be no doubt as to the amount that must be awarded.

Franchise Holding II, LLC v. Huntington Rests. Group, Inc., 375 F.3d 922, 928-29 (9th Cir.

2004). Thus, “a court may enter a default judgment without a hearing only if the amount

claimed is a liquidated sum or one capable of mathematical calculation.” Hunt v. Inter-Globe

Energy, Inc., 770 F.2d 145, 148 (10th Cir. 1985). Under Fed. R. Civ. P. 55(b)(2), the court may

conduct hearings or make referrals when, to enter or effectuate default judgment, it needs to:

       (A)     conduct an accounting;
       (B)     determine the amount of damages;
       (C)     establish the truth of any allegation by evidence; or
       (D)     investigate any other matter.




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Fed. R. Civ. P. 55(b)(2). Here, Plaintiff has failed to provide any information in its Motion for

Default Judgment regarding any amount sought, nor is there any supporting documentation

provided.3 See Doc. 13.

         That aside, Plaintiff has skipped the first step of the default proceeding and has not

requested the clerk to enter a default against the Defendants. Fed. R. Civ. P. 55(a). Thus, having

failed to establish default, Plaintiff is not entitled to default judgment.

                                              III. Recommendation

         For the foregoing reasons, the Court recommends that Plaintiff’s Motion for Default

Judgment be DENIED WITHOUT PREJUDICE. It is further recommended that Plaintiff be

granted leave to refile a motion for default judgment that the Court will reconsider if default is

properly entered, and if any such refiled motion complies with the requirements of the federal

rules of civil procedure and the local rules.



       THE PARTIES ARE FURTHER NOTIFIED THAT WITHIN 14 DAYS OF
SERVICE of a copy of these Proposed Findings and Recommended Disposition they may
file written objections with the Clerk of the District Court pursuant to 28 U.S.C. §
636(b)(1). A party must file any objections with the Clerk of the District Court within
the fourteen‐day period if that party wants to have appellate review of the proposed
findings and recommended disposition. If no objections are filed, no appellate review
will be allowed.




                                                        _______________________________________
                                                        JOHN F. ROBBENHAAR
                                                        United States Magistrate Judge


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  It is suggested that counsel for Plaintiff review the applicable federal rules of civil procedure and this Court’s local
rules regarding the filing of motions. See Fed. R. Civ. P. 7(b) (motion “must . . . state with particularity the grounds
for seeking the order”) and D.N.M.LR-Civ. 7.1(a) (“[a] motion must be in writing and state with particularity the
grounds and the relief sought”).

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